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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

FINANCIAL FIDUCIARIES, LLC,                  )
a Wisconsin limited liability company,       )
and THOMAS BATTERMAN,                        )
A Wisconsin resident,                        )
                                             )       Case No. 3:19-cv-0874
       Plaintiffs,                           )
                                             )
       v.                                    )       Magistrate Judge Crocker, Presiding
                                             )
GANNETT CO., INC.,                           )
a foreign corporation,                       )       Jury Demanded
                                             )
       Defendant.                            )

                      PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                        MOTION FOR SUMMARY JUDGMENT

       Plaintiffs Financial Fiduciaries, LLC and Thomas Batterman (collectively “Plaintiffs”), by

and through their counsel of record, submit this response to defendant Gannett Co. Inc.’s

(“Gannett”) Motion For Summary Judgment (“Motion”) (Dkts. 55, 56 and 57):

                                       INTRODUCTION

       The elements of plaintiffs’ claim for defamation are:

       (1) A false statement, (2) communicated by speech, conduct, or in writing to a
       person other than the person defamed, and (3) the communication is unprivileged
       and is defamatory, that is, tends to harm one’s reputation so as to lower him or her
       in the estimation of the community or to deter third persons from associating or
       dealing with him or her.

Terry v. Journal Broad. Corp., 2013 WI App 130, ¶ 14, 351 Wis. 2d 479, 498, 840 N.W.2d 255,

263. There is a material factual dispute as to each element, and Gannett’s Motion must be denied.

       First, as set forth in Section II below, the Article falsely states that Plaintiffs engage in

elder abuse. Gannett argues that this implication is true, relying on Geisler Litigation court

documents, inadmissible expert reports, and hearsay statements from its own Article. Plaintiffs




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dispute that contention, relying on specific, relevant, admissible facts from the Declaration of

Thomas. (Pl. PFOF ¶¶ 85-92; see also Dkt. 59)

        Second, there is no dispute that the Wausau Daily Herald published the Article first on

August 21, 2018, and then again on September 19, 2018. (Def. PFOF ¶ 1; Dkt. 57 (Spahn Dec.) ¶

2)

        Third, as set forth in Section III below, the Article was not privileged. Gannett argues that

the entire Article is privilege merely because some portion of it reports on a judicial proceeding.

But much of the Article has nothing to do with the Geisler Litigation (or Joe Geisler, for that

matter). Thus, this Court already found, “to the extent Gannett implied that Batterman committed

elder abuse, that statement is not privileged under Wis. Stat. § 895.05(1), insofar as it is not a ‘true

and fair’ report of a judicial or other governmental proceeding.” (Dkt. 32 at 38) That ruling is

consistent with the plain language of the privilege statute, which provides that the privilege “shall

not be construed to exempt [a publisher …] from liability for [..] libelous remarks or comments

added or interpolated in any such report or made and published concerning the same, which

remarks or comments were not uttered by the person libeled or spoken concerning the person

libeled in the course of such proceeding by some other person.” Wis. Stat. § 895(1).

        Gannett also does not, and could not, dispute that the Article defamed Plaintiffs. Damages

here are presumed here. Kennedy v. Children's Serv. Soc. of Wisconsin, 17 F.3d 980, 984 (7th Cir.

1994) (“In a libel case (where the defamatory words are written or printed), there is a presumption

that the defamed person suffered general damages such as injury to reputation.”) (applying

Wisconsin law). Two categories of per se defamation—statements affecting the plaintiffs’

business and imputing commission of a crime—are also applicable. Lietz v. Frost, 2018 WI App

39, ¶ 18, 382 Wis. 2d 829, 917 N.W.2d 232.




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       Fourth, as set forth in Section IV below, Gannett acted with the requisite degree of fault.

Gannett argues that Plaintiffs must establish “actual malice”; but this Court already found “private

figures who bring defamation actions against the news media need only show negligence” which

suggests that “Batterman need make a less rigorous showing than” in actual malice cases. (Dkt. 32

at 37) Regardless of the applicable standard, Plaintiffs can readily meet it.

       The Court already found that there is evidence that Gannett endorsed the false innuendo by

telling readers that Plaintiffs’ conduct was “RELATED” to elder abuse. (Dkt. 32 at 37-38

(“Gannett did something more: it told its readers in capitalized, bold letters that another article

about ‘elder abuse’ was ‘related’ to the story about Batterman.”)) Moreover, it is undisputed that

Gannett published the defamatory innuendo at least twice (August 21, 2018 and September 19,

2018) and Plaintiffs told Gannett before each instance that it was publishing false innuendo. Under

Wisconsin law, where a defamatory statement has been published multiple times, malice is a jury

question. Hacker v. Heiney, 111 Wis. 313, 87 N.W. 249, 251 (1901).

       Finally, Plaintiffs were not required to come forward with the defamatory statement until

this point in the proceeding. Wis. Stat. § 802.03; Schindler v. Marshfield Clinic, No. 05-C-705 C,

2007 WL 60924, at *11 (W.D. Wis. Jan. 4, 2007). As such, Plaintiffs wish to proceed based on the

Original Publication (as published on August 21, 2018), rather than the Revised Publication (as

published on September 19, 2018), and respectfully submit that the Court erred in prohibiting

Plaintiffs from doing so. (Dkt. 49) Plaintiffs therefore request that the Court deny Gannett’s

Motion and allow the case to proceed to trial based on the Original Publication.




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                                            ARGUMENT

I.      Legal Standards And Procedural Posture.

        A.      The Summary Judgment Standard.

        “Summary judgment is appropriate if ‘the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.’” Harris N.A. v.

Hershey, 711 F.3d 794, 798 (7th Cir. 2013) (quoting Fed. R. Civ. P. 56(e)). On a motion for

summary judgment, the district court must construe all facts and draw all reasonable inferences in

favor of the non-movant. Srail v. Vill. of Lisle, Ill., 588 F.3d 940, 948 (7th Cir. 2009).

        B.      Gannett Incorrectly Claims That The Motion For Summary Judgment
                Standard In A Defamation Case Is Different From The Normal Standard.

        In Section I of Gannett’s brief, it argues that “summary judgment is favored in First

Amendment cases.” (Dkt. 56 at 10) Gannett is wrong. The Wisconsin Court of Appeals rejected

precisely that argument in Mach:

        Channel 15 suggests that courts are to view summary judgments differently and
        more favorably in a defamation case because of First Amendment concerns.
        However, the authorities Channel 15 cites for this proposition are cases addressing
        public figure defamation actions. […] Channel 15 has not provided any authority
        for applying a different standard in our review of the issues presented by the appeal
        of the two summary judgments in this case than that which we ordinarily apply, and
        we have discovered none. Accordingly, save for the defamation pleading
        requirements we have already mentioned, see WIS. STAT. § 802.03(6), we apply
        the same standards for summary judgment and for review of summary judgments
        that we apply in other types of actions.

Mach v. Allison, 2003 WI App 11, 259 Wis. 2d 686, 701, 656 N.W.2d 766, 773 (emph. added). 1




1
 Wis. Stat. § 802.03(6) provides: “In an action for libel or slander, the particular words complained
of shall be set forth in the complaint, but their publication and their application to the plaintiff may
be stated generally.”


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       C.      Gannett Misconstrues The Court’s Motion To Dismiss Ruling.

       According to Gannett, the “only remaining issue is Plaintiffs’ claim that, based solely on

a hyperlink to a separate story, the Gannett article at issue […] falsely implied that Plaintiffs were

involved in elder abuse.” (Dkt. 56 at 1; see also id. at 27) Gannett misstates the law: even in

defamation by implication claim, the defamatory publication must be considered as a whole. Mach,

2003 WI App 11, ¶ 30 (stating that in a defamation by implication “we consider the broadcast as

a whole, not in detached fragments”) (internal quotations omitted). Gannett is also out of step with

the Court’s ruling on Gannett’s Motion to Dismiss:

       The Article’s reporting on the Geisler Trust and SEC proceedings depicted
       Batterman as an unscrupulous financial adviser who mishandles his clients’ money,
       and the quotations from Geisler’s nephews alluded to elder abuse when they
       indicated that Batterman, their uncle’s former financial adviser, “took advantage”
       of the elder Joe Geisler.

       Perhaps if Gannett had stopped there and allowed its readers to draw their own
       conclusions from these statements, dismissal would be appropriate. But Gannett
       did something more: it told its readers in capitalized, bold letters that another article
       about “elder abuse” was “related” to the story about Batterman. By doing so,
       Gannett did not merely present a set of facts that permitted readers to infer that
       Batterman exploited elderly clients; instead, it drew the inference for them.
       Gannett’s decision to deem an article about elder abuse “related” to the Batterman
       article “supplies additional, affirmative evidence suggesting that the defendant
       intends or endorses the defamatory inference,” White, 909 F.2d at 520.

(Dkt. 32 at 37-38) As the Court noted, Plaintiffs contend that the hyperlink is part of the Article’s

consistent elder abuse theme, including:

                The headline accusing Batterman of “violating a dead man’s trust;”

                A picture of Joe Geisler taken during his later years that appeared below
                 the headline;

                Statements indicating that Geisler was a hardworking man who entrusted
                 Batterman to administer his trust;




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                The reporting on Batterman’s “mishandling” of the Geisler Trust; and
                 finally,

                Quotations from Geisler’s nephews stating that “Joe Geisler didn’t have
                 anyone to make sure he was making good financial decisions” and that
                 Batterman was “taking advantage” of Geisler’s good intentions.

(Dkt. 32 (citing Dkt. 18, at 21-22)) Thus, the Court should evaluate the Article as a whole—not

just the hyperlink—in considering Gannett’s Motion for Summary Judgment.

       D.      The Court Has Effectively Already Decided This Motion.

       As set forth in Section IV below, Gannett acted negligently, recklessly and with knowledge

of the false implication of its article. Aside from the question of Gannett’s fault, the Court has, for

all intents and purpose, already decided this Motion. A motion to dismiss and a motion for

summary judgment are different standards, to be sure. However, Gannett attached 396 pages of

documents to its motion to dismiss. (Dkts. 6-1 through 6-11) In resolving the motion to dismiss,

the Court decided to look beyond Plaintiffs’ allegations and rely on those exhibits. (Dkt. 32 at 2-

5, 17-19) The Court then evaluated truth, defamatory capability, and privilege based not on what

“Batterman has alleged” but based on the Gannett’s documents:

       Accordingly, this court will not deny Gannett’s motion simply because Batterman
       has alleged that certain statements in the Article are false and defamatory. Rather,
       it is proper to examine Batterman’s allegations against the Article and the records
       from the Geisler Trust litigation and the SEC – which are central to the complaint—
       to determine whether Batterman states a plausible claim for defamation.

(Dkt. 32 at 19 (emphasis by the Court))

       In response to this Motion, Plaintiffs’ are presenting admissible, material facts as to each

element of their claim. Gannett seeks to rebut those facts by invoking, largely, the same evidence

it invoked at the Motion to dismiss stage. (Compare Dkt. 6 and Dkts. 6-1 through 6-11 with Dkt.

57 and Dkts. 57-1 through 57-9) Those documents have not changed; nor should the Court’s

judgment about those documents.


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II.     Plaintiffs Did Not Engage In Elder Abuse.

        In Section II, Gannett argues that the defamatory statement is true—that Plaintiffs engage

in elder abuse and financial exploitation. (Dkt. 54 11-16) Despite dedicating many column inches

to this argument, Gannett does not seriously attempt to establish through admissible evidence that

Plaintiffs engage in elder abuse. For example, Gannett does not present sworn testimony from the

Geisler nephews quoted in the Article. Gannett did not depose or obtain declarations from any of

the parties to the Geisler Litigation. Gannett presents no evidence of Plaintiffs being investigated

for, accused of, or found guilty of elder abuse by any law enforcement or social services agency.

And despite taking Batterman’s deposition for nearly seven hours, Gannett apparently found no

testimony supporting its claims of elder abuse, as it did not file or rely on the transcript.

        Gannett relies on three types of evidence: (1) two webpages purportedly published by the

Wisconsin Department of Health Services and the American Bar Association (collectively, the

“Expert Reports”); (2) court records from the Geisler Litigation; and (3) quotes in the article from

the Joe Geisler’s nephews. None support Gannett’s claim that Plaintiffs commit elder abuse. Even

if they did, Plaintiffs submit relevant, admissible evidence that they do not commit elder abuse,

such that there is a material factual dispute as to the issue.

        A.      The Court Should Strike The Expert Reports Referred To In Gannett’s Brief.

        Gannett relies extensively on the two Expert Reports. (Dkt. 56 at 12-13) However, those

reports are inadmissible, and the Court should strike them for the following reasons:

        First, the Court’s Standing Order provides that every fact must be set forth in the Proposed

Findings of Fact, and that the “court will not consider facts contained only in a brief.” (Standing

Order at Page 6, Section I(C)(1)) The Expert Reports are contained only in the brief, and are not

mentioned or cited anywhere in Gannett’s Proposed Findings of Fact.




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        Second, the Court’s standing order sets forth the types of evidence on which a party may

rely. (Standing Order at Page 6, § I(C)(1)) The Expert Reports do not meet any of those

requirements. Gannett may contend that they are documentary evidence, but such evidence can

only be relied upon if it “is shown to be true and correct, either by an affidavit or by stipulation of

the parties.” (Id., § I(C)(1)(f))

        Third, to “be admissible, documents must be authenticated by and attached to an affidavit

that meets the requirements of Rule 56[ ] and the affiant must be a person through whom the

exhibits could be admitted into evidence.” Zirk v. Nationstar Mortg., No. 16-CV-448-JDP, 2017

WL 3402970, at *4 (W.D. Wis. Aug. 8, 2017) (quoting Article II Gun Shop, Inc. v. Gonzales, 441

F.3d 492, 496 (7th Cir. 2006)). “Courts do not treat printouts from internet websites as self-

authenticating or admit them without foundation or authentication.” Adobe Sys. Inc. v.

Christenson, No. 2:10-CV-00422-LRH, 2011 WL 540278, at *9 (D. Nev. Feb. 7, 2011); In re

Homestore.com, Inc. Sec. Litig., 347 F. Supp. 2d 769, 782 (C.D. Cal. 2004) (“Printouts from a web

site do not bear the indicia of reliability demanded for other self-authenticating documents under

Fed.R.Evid. 902. To be authenticated, some statement or affidavit from someone with knowledge

is required[.]”).

        Fourth, the Expert Reports assert improper expert opinions. Gannett’s deadline to disclose

an expert witness was September 1, 2020, and Gannett did not do so. (Dkt. 16 at 2) “A

party must disclose the opinions to which an expert will testify at trial, Fed.R.Civ.P. 26(a),

and expert reports that fail to comply with disclosure requirements should be excluded unless the

violation is justified or harmless. Fed.R.Civ.P. 37(c)(1).” Sandisk Corp. v. Kingston Tech. Co., No.

10-CV-243-BBC, 2011 WL 7121190, at *2 (W.D. Wis. Oct. 27, 2011).




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       B.      The Geisler Litigation Records Do Not Establish That Plaintiffs Engaged In
               Elder Abuse.

       Gannett argues that the Geisler Litigation records prove that there is no material factual

dispute that Plaintiffs engaged in elder abuse and financial exploitation. (Dkt. 56 at 13-15) But the

opposite is true. Nothing in those records reflect that Plaintiffs were accused, or found guilty, of

engaging in elder abuse or financial exploitation. Gannett attached over 150 pages of records from

the Geisler Litigation to its Motion, including what Attorney Spahn says to be the American

Cancer Society Petition, the CCAP Docket, filings by the successor trustee and Department of

Justice, and hearing transcripts. (Dkts. 57-2 through 57-9) The words “elder” and “exploit*” do

not appear anywhere in those records. (Pl. PFOF. ¶ 78; see also Dkt. 57-2 through 57-9)

       And it should come as no surprise that the Geisler Litigation documents do not discuss

elder abuse; it was not a case about an elderly person at all. In Mentzer’s view, the Article could

not be “related to elder abuse” because “it’s a story about financial management following a

person’s death” and “elder abuse is abuse of a person who is living.” (Pl. PFOF. ¶ 79; see also

Dkt. 54 (Mentzer Dep.) at 48:18-49:4)

       C.      The Geisler Nephew Interview Does Not Establish That Plaintiff Engage In
               Elder Abuse.

       Gannett cites statements of Joe Geisler’s nephews and how they “viewed the issues present

in the Geisler Trust litigation” as evidence that Plaintiffs engage in elder abuse. (Dkt. 56 at 16)

But those statements are inadmissible hearsay within hearsay. Horta v. Sullivan, 4 F.3d 2, 8 (1st

Cir. 1993), certified question answered, 418 Mass. 615, 638 N.E.2d 33 (1994) (Stating that a

newspaper article “should have been stricken” and that “the newspaper account is hearsay within

hearsay.”); Louisiana ex rel. Dep't of Transp. & Dev. v. Kition Shipping Co., 653 F. Supp. 2d 633,

648–49 (M.D. La. 2009) (“Statements in newspapers often constitute double hearsay[.]”) (citation




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omitted). The statements of the Geisler nephews are clearly out of court statements offered for the

truth of the matter—Gannett asserts them in support of its argument that “The Alleged Implication

Is Substantially True.” (Dkt. 56 at 11, § II) Thus, they are inadmissible under F.R.E. 802.

       Further, to the extent that Gannett is asserting the Geisler nephews’ statements for the truth

of what occurred with Joe Geisler’s finances or the Geisler Litigation, there is no indication that

they had any personal knowledge of what occurred. On the contrary, the article reports that they

were “surprised and disappointed to hear about this legal battle.” (Pl. PFOF ¶ 72; Dkt. 57-1 at 7)

Thus, the Court should strike all references to statements made by the Geisler nephews.

       Even if the Court considers the statements, and the Court should not do so, it merely

presents an issue of fact. Immediately after stating that Joe Geisler wanted his money “to go to

good causes, and instead some else was taking advantage of that”, the Article says: “Batterman

handled funds for their father, John Geisler, for years, but when the brothers were concerned about

the returns their father was getting, they got a second opinion. When that financial adviser was

concerned about Batterman’s investment strategy, the brothers tired Batterman, They said the

returns have increased drastically since then.” (Pl. PFOF ¶ 71; Dkt. 59 (Batterman Dec) ¶ 12; Dkt.

57-1 at 7) Gannett argues that these statements prove that Plaintiffs engage in elder abuse, but

Plaintiffs dispute them.

       Financial Fiduciaries managed John Geisler’s assets from 2008 to early 2015. When John

Geisler came to Financial Fiduciaries, it was the peak of the financial crisis, and he was 87 years

old. (Pl. PFOF ¶ 73; Dkt. 59 (Batterman Dec) ¶ 14) Financial Fiduciaries provided quarterly

statements to John Geisler and his wife, Zola, and their son, Jerry Geisler, attended many of their

meetings with Batterman. (Pl. PFOF ¶ 74; Dkt. 59 (Batterman Dec) ¶ 14) John Geisler asked—as

is overwhelmingly considered the best approach for a person of his age—for a conservative, but




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low-risk, approach. (Pl. PFOF ¶ 75; Dkt. 59 (Batterman Dec) ¶ 15) For the six years during which

John Geisler was a Financial Fiduciaries client, he outperformed the market for similar investment

approaches by approximately 10%. (Pl. PFOF ¶ 76; Dkt. 59 (Batterman Dec) ¶ 15)

       If the Geisler nephews’ testimony is considered in this dispute, it will have to be at trial.

       D.       Plaintiffs Do Not Engage In Elder Abuse.

       Plaintiffs do not engage in elder abuse or financial exploitation. (Pl. PFOF. 85; Dkt. 59

(Batterman Dec) ¶ 3) On the contrary, Batterman and Financial Fiduciaries have spent a significant

amount of time and resources contributing to or volunteering with organizations focused on

enhancing financial literacy, such as the National Association of Personal Financial Advisors

Consumer Education Foundation and a financial education hotline operated by the personal

finance magazine Kiplinger. (Pl. PFOF. 86; Dkt. 59 (Batterman Dec) ¶ 3)

       Gannett suggests that the definition of “elder abuse” should be guided by Wisconsin Statute

940.285. (Dkt. 56 at 19) The statute defines “abuse” to include: “Physical abuse”; “Emotional

abuse”; “Sexual abuse” “Treatment without consent”; “Unreasonable confinement or restraint”;

and “Deprivation of a basic need for food, shelter, clothing, or personal or health care”. Wis. Stat.

§ 940.28(1)(ag)1-6.2 Batterman has not done—or been accused of doing—any of those acts:

            -   Batterman has never physically abused an elderly person, nor been accused
                of doing so. (Pl. PFOF 87; Dkt. 59 (Batterman Dec) ¶ 4)



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  Gannett argues that the fact that elder abuse is a crime negates any implication that Batterman
committed such a crime. But of course a person can commit a crime without being charged of a
crime (or without yet being charged of the crime). Wisconsin statutes therefore define “crime” not
as a conviction but as “conduct which is prohibited by state law and punishable by fine or
imprisonment or both.” Wis. Stat. § 939.12; Terry v. Journal Broad. Corp., 2013 WI App 130, ¶
23, 351 Wis. 2d 479, 504, 840 N.W.2d 255, 266 (Stating in implied defamation claim that “[w]hile
some connotations of [a] word may encompass criminal behavior, others do not.”) (internal
quotation omitted; alterations by the court). Further, the Article says that Batterman has not been
charged with “criminal wrongdoing in the Geisler case.” (Def. PFOF. ¶ 79) That leaves open the
implication that they have been charged of, or have engaged in criminal conduct, in other contexts


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           -   Batterman has never emotionally abused an elderly person, nor been
               accused of doing so. (Pl. PFOF 88; Dkt. 59 (Batterman Dec) ¶ 5)

           -   Batterman has never sexually abused an elderly person, nor been accused
               of doing so. (Pl. PFOF 89; Dkt. 59 (Batterman Dec) ¶ 6)

           -   Batterman has never provided medication or medical treatment to an elderly
               person without consent, nor been accused of doing so. (Pl. PFOF 90; Dkt.
               59 (Batterman Dec) ¶ 7)

           -   Batterman has never unreasonably confined or constrained an elderly
               person, nor been accused of doing so. (Pl. PFOF 91; Dkt. 59 (Batterman
               Dec) ¶ 8)

           -   Batterman has never deprived an elderly person of basic need for food,
               shelter, clothing, or personal or health care, nor been accused of doing so.
               (Pl. PFOF 92; Dkt. 59 (Batterman Dec) ¶ 9)

       Thus, there is—at the very least—a material factual dispute as to whether Plaintiffs’

commit elder abuse.

III.   The Judicial Proceedings Privilege Does Not Apply To The Article Generally Or To
       Gannett’s Implication That Plaintiffs engaged In Elder Abuse.

       The judicial proceeding does not apply to “mere pleadings and other preliminary papers

which simply have been filed in the clerk’s office.” Ilsley v. Sentinel Co., 133 Wis. 20, 113 N.W.

425, 426-427 (1907). Rather, the privilege applies to reports concerning the actions of the Court.

This is because the privilege is not intended to shed light on the actions and statements of private

individuals, but to facilitate scrutiny of the judicial officers themselves:

       There is, however, no right in the public to know that A charges B with unworthy
       or criminal conduct, even in court, as a fact by itself; that is mere gossip or
       scandal. The public at most needs to knew what its court does, and, since this cannot
       be intelligibly reported without stating the charges and issues upon which the
       court's action is based, the latter may be reported also, although as an incidental
       result the fact of defamatory charges against some individual becomes public to his
       injury.




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Ilsley, 113 N.W. at 426. Because the privilege pertains to the conduct of judicial officers, rather

than allegations about private individuals, Ilsley expressed concern over application of the

privilege to preliminary documents filed with the court.

       In absence of dominating public interest, surely the individual ought not to be
       subjected to such assaults upon his character and reputation as may result from
       general publication of charges which may thus be made. The author of a pleading
       is broadly privileged in asserting his claims against his opponent, and may, and
       often does, make the most damaging charges with little or no foundation. He may
       make them with no expectation of proving them, may, with no purpose of ever
       proceeding further with his action[.]

Ilsley, 113 N.W. at 427 (emphasis added). Here, the Article is plainly about Plaintiffs, and not

about a judicial officer. The Article refers to Judge Moran (by time or title) six times, while

referring to “Batterman” fifty-five times. (Pl. PFOF ¶ 10; Dkt. 57-1) And when the Court did act

on ACS’s scandalous allegations, they were quickly discredited. In Judge Moran’s own words:

       This court acknowledges that there were concerns voiced concerning potential
       criminal activity at the onset of the litigation but that was not the focus of this case
       and that was not the issues that were litigated at the court trial.

(Pl. PFOF ¶ 9; Dkt. 6-9, Dkt. 6 (Spahn Aff.) ¶ 10; Dkt. 6-9 at 11:4-8; Dkt. 5 at 7)

       Plaintiffs maintain that the judicial proceedings privilege does not apply to the Article

because the Article was about Plaintiffs, and not Judge Moran. Plaintiffs acknowledge, however,

that the Court found “under Ilsley, the privilege would apply to Gannett’s reporting on the ACS’s

petition because it was ‘actually brought to the attention’ of the court.” (Dkt. 32 at 31) However,

the privilege does not apply to the elder abuse theme. As the Court found, “to the extent Gannett

implied that Batterman committed elder abuse, that statement is not privileged under Wis. Stat. §

895.05(1), insofar as it is not a ‘true and fair’ report of a judicial or other governmental

proceeding.” (Dkt. 32 at 38) As the Court noted, Plaintiffs allege that the entire article had an elder

abuse theme, including:




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                The headline accusing Batterman of “violating a dead man’s trust;”

                A picture of Joe Geisler taken during his later years that appeared below
                 the headline;

                Statements indicating that Geisler was a hardworking man who entrusted
                 Batterman to administer his trust;

                The reporting on Batterman’s “mishandling” of the Geisler Trust; and
                 finally,

                Quotations from Geisler’s nephews stating that “Joe Geisler didn’t have
                 anyone to make sure he was making good financial decisions” and that
                 Batterman was “taking advantage” of Geisler’s good intentions.

(Dkt. 32 (citing Dkt. 18, at 21-22))

       Those themes simply have nothing to do with the Geisler Litigation. The photographs of

elderly Joe Geisler were not obtained from the Geisler Litigation, but were instead provided

“Courtesy of Gary Geisler.” (Pl. PFOF ¶ 66; Dkt. 57-1 at 2, 7) The statements from Joe Geisler’s

nephews suggesting that “Joe Geisler didn’t have anyone to make sure he was making good

financial decisions” and that Batterman was “taking advantage” of Geisler’s good intentions also

were not based on court records. (Pl. PFOF ¶ 67; Dkt. 57-1 at 7) Similarly, the statements about

Joe Geisler’s work ethic were not based on Court records, but were instead based on an interview

with Gary Geisler. (Pl. PFOF ¶ 68; Dkt. 57-1 at 1) Moreover, the headline accusing Batterman of

“violating a dead man’s trust” and “mishandling $3 million” cannot be privileged as the privilege

does not apply to headlines. Wis. Stat. § 895.05(1).

       The article also includes an extensive discussion of Joe Geisler’s brother, John Geisler. (Pl.

PFOF ¶ 70; see also Dkt. 57-1 at 7) The article reports that John Geisler’s sons “were concerned

about the returns their father was getting, [from Batterman and] they got a second opinion.” (Pl.

PFOF ¶ 71; see also Dkt. 57-1 at 7) The article further reports, that the nephews “fired Batterman”

after an unidentified financial adviser “was concerned about Batterman’s investment strategy” and


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that their returns have increased drastically since then. (Pl. PFOF ¶ 71; see also Dkt. 57-1 at 7)

That reporting is not about the Geisler Litigation. It is not even about Joe Geisler.

       “The reporter is not privileged … to make additions of his own that would convey a

defamatory impression, nor to impute corrupt motives to anyone, nor to indict expressly or by

innuendo the veracity or integrity of any of the parties.” Robert D. Sack, Sack on Defamation

(hereinafter “Sack”) 7:3.5 [B][6] (5th ed. 2019) (collecting cases; internal quotations omitted;

ellipses added by the author). Gannett did just that by injecting a consistent theme of elder abuse

where none was necessary, fair, or accurate.

IV.    Gannett Acted Negligently And Maliciously And There Is “Additional, Affirmative
       Evidence” Suggesting Gannett Endorsed The Defamatory Inference.

       A.      Plaintiffs Need Not Establish “Actual Malice” To Prevail On Their Claims;
               The Standard Of Care Is Negligence.

       As Gannett itself argued in opposition to Plaintiffs’ motion for summary judgment, the

standard of care applicable here is negligence: “When an action for defamation is brought against

a news media defendant, as here, Plaintiffs have the burden of proving that the defendant acted

negligently in publishing the allegedly defamatory statements.” (Dkt. 34 at 3-4) This Court found

as that standard applies as well: “In Wisconsin, private figures who bring defamation actions

against the news media need only show negligence, Denny v. Mertz, 106 Wis. 2d 636, 657, 318

N.W.2d 141, 151 (1982)[.]” (Dkt. 32 at 37)

       Now, Gannett argues that that Plaintiffs must establish “actual malice,” meaning that

Gannett must have been motivated by “ill will, spite, envy, revenge, or other bad or corrupt

motives.” (Dkt. 56 at 25 (quoting Uebelacker v. Paula Allen Holdings, Inc., 464 F. Supp. 2d 791,

801 (W.D. Wis. 2006)) Gannett argues that Plaintiffs must meet this actual malice standard based

on a 1913 Wisconsin Supreme Court case that said that defamation by implication must be “false




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and maliciously published.” (Dkt. 56 at 20 (quoting Shaw v. Crandon Printing Co., 154 Wis. 601,

143 N.W. 698, 700 (1913))

       However, Shaw speaks to malice, and not “actual malice.” In the defamation context,

“malice” has several different meanings. If the plaintiff is a public figure, he or she must establish

the statement was made with “actual malice”—“that is, with knowledge that it was false or with

reckless disregard of whether it was false or not.” New York Times, 376 U.S. at 280; accord Denny,

106 Wis. 2d at 643.3 But, at least for purposes of this Motion, Gannett expressly concedes that

Plaintiffs are not public figures. (Dkt. 56 at 26, n. 6) On the other extreme, Wisconsin law implies

malice by the mere fact of the publication in some instances. Denny, 106 Wis. 2d at 657 (“While

malice is an element of actionable libel in Wisconsin, our court has implied the existence of such

malice from the libelous publication itself in holding persons involved in the publication of the

libel liable.”). Neither of those standards apply here.

       As Gannett argued (and the Court found) the standard of care is negligence when, as here,

a private plaintiff brings claims against a media defendant. (Dkt. 34 at 3-4; Dkt. 32 at 37) Shaw

does not speak to “actual malice”—the concept of “actual malice” did not arise in earnest until the

Supreme Court articulated the principle in New York Times some fifty years later. New York Times,

376 U.S. at 280. Shaw does not purport to create a separate regime for defamation by implication

claims, and Wisconsin courts have not treated it as such. For example, Mach was a defamation by

implication claim brough by a private individual, where news broadcast allegedly “negligently and

falsely portrayed and implied” that the plaintiff, a dog trainer, had killed a dog. Mach, 2003 WI




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  Though not the applicable standard, Gannett also inaccurately defines “actual malice” as
including only purposeful conduct with “bad or corrupt motives.” (Dkt. 56 at 25 (quoting
Uebelacker, 464 F. Supp. 2d at 801)) However “actual malice” includes a statement made
recklessly. New York Times, 376 U.S. at 280.


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App 11, ¶ 3. The Wisconsin Court of Appeals, appeared to apply a negligence or implied malice

standard, saying: “We do not understand Channel 15 to assert that Allison is a public figure; if he

were, the First Amendment would require that he prove actual malice by Channel 15 and the other

defendants in addition to the other elements of the common law claim.” Mach, 2003 WI App 11,

¶ 13. Similarly, Sack teaches that courts should notimpose liability for defamation by implication

claims “for public persons that do not pass the ‘actual malice test’” or for “statements about private

plaintiffs who do not meet the applicable state-imposed standard of fault.” Sack, § 2:4.5 Thus, the

degree of fault does not change merely because the claim asserts defamation by implication.

       At the motion to dismiss stage, the Court cited to caselaw from the Seventh Circuit

(applying Indiana law) and Court of Appeals for the District of Columbia requiring that

“something more” be required where the claim asserts implied defamation. (Dkt. 32 at 36 (quoting

Woods v. Evansville Press Co., 791 F.2d 480, 487 (7th Cir. 1986) and White v. Fraternal Order of

Police, 909 F.2d 512 (D.C. Cir. 1990)) The Court did not find that Wisconsin law similarly requires

a showing of “something more.” Instead, the Court said:

       As an initial matter, I note that in the cases cited above, the plaintiffs had to show
       actual malice, either because they were public figures (White, Chapin), or because
       state law required it (Woods). Although the parties in this case have not addressed
       this issue, it appears that Batterman is a private individual. In Wisconsin, private
       figures who bring defamation actions against the news media need only show
       negligence, Denny v. Mertz, 106 Wis. 2d 636, 657, 318 N.W.2d 141, 151 (1982),
       which suggests that Batterman need make a less rigorous showing than in the cases
       above.

       In any case, I am satisfied that Batterman’s complaint plausibly states a claim for
       defamation by implication even under the more demanding standard required in
       actual malice cases.

(Dkt. 32 at 37) Thus, while Indiana and the District of Columbia may require actual malice or

“something more” in all defamation by implication claims, Wisconsin law does not so require. The

negligence standard set forth in Denny controls this action. Denny, 106 Wis. 2d at 657.



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       B.      Gannett Was Negligent And Acted With Actual Malice.

       Even assuming arguendo that Plaintiffs had to establish actual malice—and they need only

establish negligence—Plaintiffs could readily do so for the following reasons:

               i.      Gannett Endorsed The Defamatory Innuendo By Including A
                       “RELATED” Hyperlink To A Story About Elder Abuse.

       As the Court found on the Motion to Dismiss, the inclusion of Gannett’s statement that the

elder abuse article was “RELATED” is alone sufficient to establish that Gannett endorsed the

defamatory implication. (Dkt. 32 at 35 (“Here, the plaintiff points to an actual statement by the

publisher —its endorsement of a different article as ‘Related’—as giving rise to the defamatory

implication.”); id. at 37 (“But Gannett did something more: it told its readers in capitalized, bold

letters that another article about ‘elder abuse’ was ‘related’ to the story about Batterman.”))

       Indeed, by requiring reporters to link to “RELATED” stories, Gannett was inviting

defamation of plaintiffs such as Batterman. Gannett argues that “inclusion of the hyperlink was

consistent with the USA Today Network-Wisconsin’s longstanding practice to use the terminology

‘RELATED: [link]’ to signify a link to a story that a reader might also be interested in – not

necessarily a story on the same exact topic as the one they are reading.” (Dkt. at 56 at 22 (quoting

Def. PFOF ¶ 82)

       However, Gannett’s internal definition of “RELATED” matters not; the Court looks to the

plaint and ordinary meaning of the word” in a defamation claim. Nixon v. Haag, 497 F. App'x 659,

661 (7th Cir. 2012) (looking to Oxford English Dictionary definition to determine the ordinary

meaning). In the Oxford Dictionary, “Related” means “Belonging to the same family, group or

type; connected; associated with the specified item or process, especially causally.” Lexico

powered by Oxford, https://www.lexico.com/en/definition/related (last accessed November 11,

2022); see also Newell Brands, Inc. v. Kirsch Lofts, LLC, 207 F. Supp. 3d 760, 767 (W.D. Mich.



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2016), aff'd sub nom. Newell Brands, Inc. v. Bosgraaf, 690 F. App'x 393 (6th Cir. 2017) (“The

ordinary meaning of the word ‘related’ is “connected by reason of an established or discoverable

relation.”). By stating that an article about elder abuse and financial exploitation are “RELATED,”

Gannett is associating, connecting and attributing to Plaintiffs elder abuse and financial

exploitation.

       Nor is the inclusion of the “RELATED” hyperlinks a “longstanding practice” as Gannett

contends. At the earliest, Gannett began requiring links to “RELATED” stories in 2010. (Pl. PFOF

¶ 62; Dkt. 54 (Mentzer Dep.) 44:8-12) Gannett adopted this requirement “to try to drive traffic to

other stories on our site or other Gannett sites.” (Pl. PFOF ¶ 63; Dkt. 54 (Mentzer Dep.) 41:19-21)

As a supervisor at Gannett, Mentzer was “often reminding reports that it was their role” to add the

related hyperlinks “[b]ecause of the company initiative to—which was to require related links in

all stories in order to try to improve time on the site.” (Pl. PFOF ¶ 64; Dkt. 54 (Mentzer Dep.)

42:13-24) At Mentzer’s current journalism job, he is not required to include hyperlinks to related

stories, as he was required to do at Gannett. (Pl. PFOF ¶ 65; Dkt. 54 (Mentzer Dep.) 73:19-21)

                ii.   Gannett Admits—And Emphatically Argues—The Article On Its Fact
                      Evidences Elder Abuse.

       Here, Gannett maintains that it did not intend or endorse the notion that Plaintiffs’ engaged

in elder abuse. However, in the same brief, Gannett dedicated several pages to arguing that

Batterman did commit elder abuse. (Dkt. 56 at 11-16) But Gannett goes further, citing quotes from

the Article itself as evidence that Batterman did in fact engage in elder abuse. (Dkt. 56 at 15-16

(citing Def. PFOF ¶¶ 78, 55-56)) For example, Gannett argues that quotes in the article from

“Joseph Geisler’s own nephew, Gary” prove that that Plaintiffs abuse elders. (Dkt. 56 at 16 (citing

Def. PFOF ¶¶ 55-56)) Thus, it is evident on the face of the Article—as Gannett itself argues—that

Gannett endorsed the implication that Plaintiffs abuse elders.



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               iii.    Gannett Was On Notice, But Published—And Then Republished—The
                       False Innuendo.

       Even before Gannett published the original version of the Article, it had an understanding

that Plaintiffs contended that the article they intended to write was not accurate. On July 27, 2018,

Batterman wrote to Sam Wisneski to say: “If this is to be a fair and balanced article, I would think

you would want perspectives from the other side, of which I believe I can offer some. So you

probably should get some input from me on what I am able to talk about at this time before the

article comes out.” (Pl. PFOF. ¶ 42; Dkt. 57-10 at 6) Wisneski said that Batterman’s message was

“atypical” and therefore something he felt he “should talk to [his] editors about.” (Pl. PFOF. ¶ 43;

see also Dkt. 54 (Wisneski Dep.) at 233:9-18) He thought it was “atypical in the way that it was

accusatory and questioning of the story.” (Id.) Treinen, in turn, testified that as of July 27, 2018,

he understood that Batterman had “some serious concerns about the nature of the article that

[Treinen was] getting ready to finalize and publish[.]” (Pl. PFOF ¶ 44; Dkt. 52 (Treinen Dep.) at

68:5-9) However, Gannett proceeded with publishing the defamatory article on August 21, 2018.

       Shortly thereafter, Plaintiffs sent Gannett a demand letter articulating the ways in which

the Original Publication was false and defamatory. (Pl. PFOF ¶ 80; Dkt. 57-16) That demand letter

warns that the Article “contains links to so-called ‘Related’ stories about elder abuse and

embezzlement.” (Pl. PFOF ¶ 81; Dkt. 57-16 at 7) The demand specifically identifies the

“RELATED” hyperlink to the “Five ways to fight elder abuse” story, and states: “This link in the

middle of the on-line article unfairly and irresponsibly suggests that Mr. Batterman and Financial

Fiduciaries were somehow involved in ‘elder abuse.’” (Pl. PFOF ¶ 82; Dkt. 57-16 at 11, ¶ 9) The

demand letter further notes that the Original Publication’s “innuendo is impossible to miss” and

that it implies that Batterman “takes advantage of elders and cannot be trusted with other people’s

money.” (Pl. PFOF ¶ 83; Dkt. 57-16 at 7)



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       Instead of retracting the defamatory innuendo, Gannett republished it on September 19,

2018 without removing the hyperlink or the other components contributing to the elder abuse

theme. (Pl. PFOF ¶ 84; Dkt. 56-1) Because Gannett did so, this case must proceed to the jury.

       “Republication of a statement after its falsity has been demonstrated to the publisher may,

of course, constitute publication ‘with knowledge of falsity.’” Sack, § 5:5.2[F]; see also id. at §

11:1 (“Continued publication of a falsehood after a retraction demand” constitutes “evidence of

‘actual malice.’”) (footnotes omitted). Similarly, under Wisconsin law in “actions of slander,

a repetition of the defamatory words […] is admissible to show malice.”). Magmer v. Renk, 65

Wis. 364, 27 N.W. 26, 27 (1886). Indeed, where the defamatory statement is repeated more than

once, that fact alone necessitates presenting the malice question to a jury: “There being evidence

of numerous repetitions of the defamatory charge, the question of express malice and of punitory

damages was open to the jury.” Hacker, 87 N.W. at 251.

       And the Revised Publication undoubtedly constitutes a republication of the defamatory

statement. As applicable to online publications:

       Modifications of a website, such as minor changes or addition of material irrelevant
       to the allegedly defamatory material, or changes in the matter in which the material
       may be accessed, do not ordinarily constitute a new publication. But if “the changes
       to the defamatory content of the original article were material and substantive, [they
       render] the modified article a republication” that restarts the running of the statute
       of limitations.

Sack, § 7:2:2; id. § 2:5.1 (“Every distinct publication of a liber or slander gives rise to a separate

cause of action. Republication of a hardcover book in paperback form, for example, ordinarily is

deemed to be a separate, potentially actionable publication.”); id. § 2:7.1. (“When a statement is

published a second or subsequent time […] the statement has been republished.”). Gannett says

the revision came after “Treinen worked with Gannett’s editing and legal staff to thoroughly




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consider the concerns raised by Plaintiffs.” (Dkt. 58, ¶ 72) Thus, it is beyond refute that Gannett

repeatedly published the defamatory publication, evidencing actual malice.

        Further, even after the Court denied Gannett’s Motion to Dismiss as to the elder abuse

theme, Gannett did not retract those portions of the publication. This provides futher evidence of

negligence and malice: “Under certain circumstances, failure to retract may help establish ‘actual

malice.’ § 11:1 (footnotes omitted; emphasis in the original).

                iv.     Gannett Failed To Supervise Its Intern-Author.

        Treinen assigned the Batterman story to Wisneski within a month of him starting at

Gannett. (PFOF ¶ 11; Wisneski Dep.) at 84:24-85:1) Wisneski was not qualified to write this story

without significant oversight.

        When Treinen asked Wisneski to investigate the Batterman case, he told Wisneski that he

“received an anonymous tip today to look into Marathon County court case 15-PR-00032.” (Pl.

PFOF ¶ 12; Dkt. 53 (Wisneski Dep.) at 93:3-12; see also Dkt. 57-10 at 10) Wisneski does not

know what the number “15” in the in the Geisler Litigation case number means. (Id.) Asked what

a trustee is, Wisneski said “I can’t speak exactly to what a trustee is. I don’t feel qualified for that.

To the best of my knowledge—you know, I’m going to stop there. I don’t—I don’t feel qualified

to answer that.” (Pl. PFOF ¶ 13; Dkt. 53 (Wisneski Dep.) at 75:8-14) Asked what a trust protector

and a living trust are, Wisneski said as to both “I’m not sure.” (Pl. PFOF ¶ 14; Dkt. 53 (Wisneski

Dep.) at 77:17-21) Asked what a successor trustee is, he said “I can only speculate. I’m not sure

exactly what that is.” (Pl. PFOF ¶ 15; Dkt. 53 (Wisneski Dep.) at 78:2-7) Wisneski also has no

recollection of discussing these trust-related terms with his supervisors at Gannett. (Pl. PFOF ¶ 16;

Dkt. 53 (Wisneski Dep.) at 78:22-79:8)




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       At the time the story was published, Marathon County court records could not be accessed

remotely, and Wisneski had to travel to the Clerk’s office to view the records. (Pl. PFOF ¶ 17; Dkt.

53 (Wisneski Dep.) at 148:4-21) When Wisneski went to the Marathon County Clerk’s Office to

investigate this case, it was his first time ever going to the courthouse. (Pl. PFOF ¶ 18; Dkt. 53

(Wisneski Dep.) at 148:22-25)

       Wisneski never printed or downloaded any records from the Geisler Litigation. (Pl. PFOF

¶ 19; Dkt. 53 (Wisneski Dep.) at 150:9-152:19) He did not do so because he had to pay to retrieve

those records. (Pl. PFOF ¶ 20; Dkt. 53 (Wisneski Dep.) at 155:15-19) Instead, he took photographs

of the computer screen at the clerk’s office using his cell phone. (Pl. PFOF ¶ 21; Dkt. 53 (Wisneski

Dep.) at 150:9-152:19) To the best of his recollection, those photographs “were on [his] cell phone

and nowhere else.” (Pl. PFOF ¶ 23; Dkt. 53 (Wisneski Dep.) at 150:9-152:19) Wisneski says he

“might have showed [the court records] to Mark Treinen or Robert Mentzer.” However, if he did

so, it would have been by “thumbing through pictures on [his] cell phone.” (Pl. PFOF ¶ 24; see

also Dkt. 54 (Wisneski Dep.) at 152:1-14) 4

               v.      Gannett Refused To Interview Batterman, In Violation Of Its Own
                       Policies.

       Gannett refused to interview Batterman, and then falsely reported that Batterman had not

consented to an interview. Gannett cites Crescenz and Kendrick for the proposition that refusing

to interview the subject of a story is not evidence of negligence. (Dkt. 56 at 25 (citing Crescenz v.

Penguin Grp. (USA), Inc., 561 F. App'x 173, 178 (3d Cir. 2014) and Kendrick v. Fox Television,

659 A.2d 814, 823 (D.C. 1995)) However, those cases are readily distinguishable.




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 Wisneski also indicated that it was possible that he emailed photographs of court records to his
two editors, (Dkt. 52 (Wisneski Dep.) at 152:1-14), but Gannett has produced no such emails.


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       In Kendirck, the plaintiff alleged that Fox Television failed to comply journalistic

principles and codes published by third-party organizations, but did “not provide[] source

citations” for those principles and did not show that those “particular standards are customarily

followed by journalists.” Kendrick, 659 A.2d at 823. It was also “undisputed that the media

defendants’ reporters made good faith attempts to reach Kendrick before the initial broadcasts.”

Id. In Crescenz, the court found that there was nothing in “the record show[ing] that [the reporter]

was ever informed during his research and writing that” the defamatory statement was false.

Crescenz, 561 F. App'x at 178.

       In the present case, Gannett’s Principles of Ethical Conduct provide: “We will strive to

include all sides relevant to a story. When news develops and we can’t include important

perspective immediately, we will share updates, including additional sources, when possible. We

also will share attempts to reach sources who add value to the story.” (Def. PFOF ¶ 50) These are

principles published by a third-party that may or may not be applicable, like in Crescenz.

According to Gannett, “[a]ll reporters and editors at Gannett, including at the Wausau Daily

Herald, are guided by” these principles. (Id.) Moreover, this was a story where it was undisputedly

important to secure Batterman’s interview. After reading Wisneski’s early draft of the article,

Wisneski’s editor, Robert Mentzer, thought that it would be important to conduct an interview

with Batterman, and advised Wisneski as such. (Pl. Resp. Def. PFOF ¶ 64; Dkt. 54 (Mentzer Dep.)

at 61:6-62:13; id. at 63:5-9)

       Unlike the plaintiff in Kendrick, Plaintiffs steadfastly dispute that Gannett made “good

faith attempts to reach” Batterman. Kendrick, 659 A.2d at 823. On the contrary, Batterman and

Wisneski agreed on a date to conduct and interview, and then Treinen told Wisneski to make up a

fake deadline and renege on his agreement with Batterman. (Pl. PFOF ¶ 38; Pl. Resp. Def. PFOF




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¶¶ 50, 65, 68; see also Dkt 57-14; Dkt. 59 (Batterman Dec. November 19, 2020) ¶¶ 25-27) On

Friday, July 27, 2018, Wisneski called Batterman, as instructed, and told him that they needed to

speak immediately if Batterman wanted to be interviewed. (Pl. PFOF ¶ 40; Dkt. 59 (Batterman

Dec. November 19, 2020) ¶ 27) Batterman could not do so, as Financial Fiduciaries was scheduled

to close on a merger with a larger financial management firm that week. (Pl. PFOF ¶¶ 39, 41; Dkt.

59 (Batterman Dec. November 19, 2020) ¶¶ 26-27) Nevertheless, Batterman offered to meet with

Wisneski on August 6, 2018. (Pl. Resp. Def. PFOF, ¶ 57; see also Dkt. 57-10 at 304) However,

Wisneski did not interview Batterman.

         Nor did Gannett abide by the illusory July 30, 2018 deadline. Gannett first published the

story on August 21, 2018. Publication of the article simply was not time sensitive in any way.

Judge Moran removed Vigil Trust as trustee on November 10, 2015. (Pl. PFOF ¶ 4; Dkt. 20

(Batterman Aff.) ¶ 38; see also Dkt. 20-2) The successor trustee issued his report on February 18,

2016. (Pl. PFOF ¶ 6; Dkt. 20 (Batterman Aff.) ¶ 39; see also Dkt. 20-3) But even if Gannett did—

for some inexplicable reason—have to publish the Article on August 21, 2018, then it Could have

interviewed Batterman on August 6, 2018, as he proposed, and still had over two weeks to meet

its deadline. Worse yet, when Gannett published the story, it falsely reported that Batterman

refused to be interviewed: “In several emails and phone conversations over the course of three

weeks, Batterman was offered the chance to respond to allegations in the case of Geisler's trust,

but he has not yet consented to an interview on that issue.” (Pl. Resp. Def. PFFF ¶ 57; Dkt. 40-1

at 11)

                vi.     Gannett Placed Profit Over All Else.

         Gannett also was also singularly focused on generating a profitable story, even if it meant

publishing an inaccurate story. For example:




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       First, Gannett placed relentless pressure on its staff to write stories that received many

views, and therefore increased Gannett’s profits. Gannett emailed reports with metrics on stories

to everyone in the office. (Pl. PFOF ¶ 52; Dkt. 53 (Wisneski Dep.) at 49:3-7) Gannett also placed

a TV screen over the Wausau Daily Herald newsroom that was “24/7 just showing […] the metrics

about the Wausau Daily Herald stories on the website.” (Pl. PFOF ¶ 53; Dkt. 53 (Wisneski Dep.)

at 48:24-49:2) The screen was prominently placed over the pool of cubicles so that everyone in

the office could see. (Pl. PFOF ¶ 54; Dkt. 53 (Wisneski Dep.) at 47:2-13) That screen mattered to

Wisneski “[b]ecause the screen actively showed how well [his] stories were contributing to

Gannett’s goals.” (Pl. PFOF ¶ 55; Dkt. 53 (Wisneski Dep.) at 49:20-21) Wisneski viewed that

screen as important because it measured how “valuable” and how “profitable” of an employee he

was. (Pl. PFOF ¶ 56; Dkt. 53 (Wisneski Dep.) at 49:22-50:6)

       Second, Gannett employed Mentzer as a “Storytelling Coach” to help reporters like

Wisneski write stories in ways that drove more profit. As a Storytelling Coach, it was Mentzer’s

job to “encourage reports to tell their stories in a way that would be engaging[.]” (Pl. PFOF ¶ 57;

Dkt. 54 (Mentzer Dep.) at 12:25-13-3) After a story was published Mentzer would also debrief

with the reporters and it “would be common to review metrics on a story, including pageviews and

average engaged time, the amount of time that readers were responding on a story.” (Pl. PFOF ¶

58; Dkt. 54 (Mentzer Dep.) at 14:11-16)

       Third, Mentzer coached Wisneski to craft the story in a way to generate as many clicks as

possible. Menzer did not review any court records from the Geisler Litigation, any notes about

court records, and he did not interview any witnesses for the Article. (Pl. PFOF ¶¶ 32-34; Dkt. 54

(Mentzer Dep.) at 34:15-22; 55:7-13) On July 10, 2018, however, Mentzer revised Wisneski’s




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draft of the story. Mentzer repeatedly criticized Wisneski’s draft as “boring”, “legalese”, and

“bloodless”:

       This lede is boring. The story is fascinating, but “ordered to pay part of the legal
       fees of four charities following years of litigation concerning mishandling of
       charitable trust" is super, super boring, nearly impenetrable. Why is that? It's
       because the lede is totally unmoored from any actual human being or human
       concern. It’s bloodless and bureaucratic, where the real story is about death and
       betrayal!

(Pl. PFOF ¶ 26; Dkt. 57-13 at 6 (emphasis added))

       Above graf is fairly bloodless as well, ‘conspired with fiance to distribute funds for
       her personal gain’ is fairly legalese and does not give reader any real idea of what
       actually happened. Wrote her illegal checks? Made a giant bed of cash in a storage
       facility like in Breaking Bad?

(Pl. PFOF ¶ 27; Dkt. 57-13 at 7 (emphasis added))

       this is a really bloodless way of saying that he wanted to funnel money to his
       fiance's charity so that she would get bonuses, rather than just enacting the wishes
       of a poor, dead farmer.

(Pl. PFOF ¶ 28; Dkt. 57-13 at 7 (emphasis added))

       bloodless, bloodless. They’re accusing him of fraud, basically. Of taking the
       money he'd been entrusted by this farmer, who saved his whole life and wanted
       only to help others, and sitting on it like it was his own, moving it around as if he
       had the right to. "misrepresented the nature of the trust" is such a legalistic way to
       represent such a thing!

(Pl. PFOF ¶ 29; Dkt. 57-13 at 7 (emphasis added)) Mentzer also suggested to Wisneski that he

could begin the story with the elder abuse theme as the lede:

       Start with Geisler. He’s a farmer, but what type of farmer? What kind of guy was
       he? Focus on some detail about him as a person: “Joseph Geisler wore the same
       pair of overalls when he went to milk the cows each morning at 5 a.m., until the
       seams were literally coming apart. No one in his family knew he had $3 million in
       the bank.”




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(Pl. PFOF ¶ 30; Dkt. 57-13 at 6) He also encouraged further discussion of the Geisler nephews,

saying “this seems too late to introduce these guys” and “good quote!” from them. (Pl. PFOF ¶ 31;

Dkt. 57-13 at 6)

       Finally, Mentzer’s revision had the desired outcome. Mentzer considered anything over

one thousand views of a story to be good. (Pl. PFOF ¶ 59; Dkt. 54 (Mentzer Dep.) at 72:12-20)

The day after publication, Mentzer emailed Wisneski to tell him that the “Early returns are in.”

(Pl. PFOF ¶ 60; Dkt. 54 (Mentzer Dep.) at 69:1-21) Mentzer told Wisneski that the story metrics

were “Pretty excellent” because it got “clearly a well above average page view number[.]” (Pl.

PFOF ¶ 61; Dkt. 54 (Mentzer Dep.) at 73:22-74:11)

               vii.    Gannett’s Litigation Conduct Provides Further Evidence That It Acted
                       Negligently And With Actual Malice.

       Gannett’s conduct during this litigation further reflects Gannett cares not for Plaintiffs’

rights. Rob Mentzer never received “a notice instructing [him] to preserve relevant documents for

this lawsuit.” (Pl. PFOF ¶ 103; Dkt. 54 (Mentzer Dep.) at 78:4-6) Wisneski and Treinen eventually

received litigation hold notices, but those notices proved untimely and ineffective.

       Wisneski and Treinen were well-aware, even before the Original Publication, that Plaintiff

thought that the story they intended to write were defamatory. (Pl. PFOF. ¶ 93; see also Dkt. 54

(Wisneski Dep.) at 233:9-18; Dkt. 52 (Treinen Dep.) at 68:5-9) Wisneski indicates that he received

a litigation hold notice when he learned of this lawsuit (i.e. over a year after Plaintiffs demanded

pursuant to Wis. Stat. § 895.05(2) that Gannett retract the story). (Dkt. 53 at 208:23-25; 201:15-

202:4) Treinen received a litigation hold notice in late 2019. (Pl. PFOF ¶ 94; Dkt. 52 (Treinen

Dep.) at 154:1-154:22)

       Gannett allowed Wisneski’s laptop to be wiped within days of the publication. (Pl. PFOF

¶ 96; see also Dkt. 40-6, ¶ 9 (The laptop was “repurposed following the conclusion of his internship



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on or around August 24, 2018.”)) Treinen took no steps to ensure the work product on Wisneski’s

computer was preserved. (Pl. PFOF ¶ 97; Dkt. 52 (Treinen Dep.) at 69:21-25) That laptop

contained much of Wisneski’s investigative file for the Article. For example, he “had a specific

way of gathering files from the court computer where [he] would – [he] would take pictures of

court records with my phone and then transfer those over to the computer.” (Pl. PFOF ¶ 98; see

also Dkt. 54 (Wisneski Dep.) at 269:18-22) Back up audio recordings of Wisneski’s interviews for

the Article, if any, were on the deleted laptop. (Pl. PFOF ¶ 99; see also Dkt. 54 (Wisneski Dep.)

at 219:1-219:24; id. at 65:25-66:9)

       Wisneski also lost his digital recording device and purchased a new phone sometime

around October 2019. (Pl. PFOF. ¶ 100; see also Dkt. 54 (Wisneski Dep.) at 218:2-221:10) His

interview with Joe Geisler’s nephews was recorded on one of those two devices. (Id.) He was not

able to find the interview on either the digital recorder or his phone. (Id.) Gannett discontinued use

of software called Chartbeat, which contains data related to the Article in early 2020. (Pl. PFOF ¶

101; Dkt. 52 (Treinen Dep.) at 152:1-154:3) Treinen had already received the litigation hold notice

at that time, but did not take steps to preserve the data from Chartbeat, is not aware of any other

person taking such steps, and can no longer access that data. (Pl. PFOF ¶ 102; Dkt. 52 (Treinen

Dep.) at 154:1-154:22)

       Plaintiffs do not currently seek to assert spoliation claims, however Gannett’s utter failure

to preserve evidence at the heart of this dispute supports Plaintiffs’ claim that Gannett acted

recklessly and with malice. Old Dominion Branch No. 496, Nat. Ass'n of Letter Carriers, AFL-

CIO v. Austin, 418 U.S. 264, 264, 94 S. Ct. 2770, 2771, 41 L. Ed. 2d 745 (1974) (Defining actual

malice to include “gross indifference and recklessness as to amount to a wanton or

willful disregard of the rights of the plaintiff.”). In intellectual property cases, the “infringer’s




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behavior as party to the litigation” is a “factor to be weighed in assessing whether an infringer’s

conduct was willful[.]” Fromson v. RBP Chem. Corp., No. 82-C-0431, 1990 WL 357248, at *15

(E.D. Wis. June 5, 1990) (quotation omitted); accord Oscar Mayer Foods Corp. v. Conagra, Inc.,

869 F. Supp. 656, 667 (W.D. Wis.), aff'd, 45 F.3d 443 (Fed. Cir. 1994). The same principle applies

here.

V.      The Defamatory Statements Were Of And Concerning The Plaintiffs.

        Gannett argues that the defamatory statement is not “of and concerning” Plaintiffs because

“neither the hyperlink nor the linked article references Plaintiffs in any way.” (Dkt. 56 at 27) The

Court should reject this argument for three reasons.

        First, a “victim of defamation need not be identified by name.” Wildes v. Prime Mfg. Corp.,

160 Wis. 2d 443, 448, 465 N.W.2d 835, 838 (Ct. App. 1991); accord Bowman v. Gruenwald, 119

Wis. 2d 899, 350 N.W.2d 741 (Ct. App. 1984) “A statement does not need to explicitly name a

particular individual to be defamatory as long as it ‘refers to a person whose identity is

ascertainable.’” Amoroso v. Schuh, 278 F. Supp. 3d 1106, 1112 (W.D. Wis. 2017) (quoting Wildes

v. Prime Mfg. Corp., 160 Wis.2d 443, 448, 465 N.W.2d 835 (Ct. App. 1991)).

        Second, Gannett’s argument is premised on the notion that the only part of the Article that

is to be considered is the hyperlink itself. As set forth in Section I(c) above, that position flies in

the face of Wisconsin law and the Court’s ruling at the motion to dismiss stage.

        Third, construing the Article as a whole, there is simply no doubt that it is of and

concerning Plaintiffs. The Article refers to “Batterman” fifty-five times and “Financial

Fiduciaries” three times. (Pl. PFOF. ¶ 10; see also Dkt. 57-1) The Article also includes two

photographs of Batterman and two photographs of Financial Fiduciaries’ offices. (Pl. PFOF. ¶ 10;

see also Dkt. 57-1)




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VI.    The Court Should Permit Plaintiffs To Proceed To Trial Based On The Original
       Publication, As Published on August 21, 2018.

       On July 15, 2020, Plaintiffs moved to amend their complaint. (Dkt. 43) Plaintiffs did so

because the Court decided Gannett’s Motion to Dismiss, (Dkt. 32), based on Gannett’s September

19, 2018 version (the “Revised Publication”) of the defamatory article, and Plaintiffs later

identified a copy of the article, as published on August 21, 2018 (the “Original Publication”). (Dkt.

43; see also Dkt. 43-3 (Batterman Declaration of July 15, 2020)) Importantly, that Gannett’s

original publications did not include the following statement (hereinafter the “Disclaimer”), which

was added to the Revised Publication:

       Although a judge later found that Batterman had not committed fraud, theft or
       embezzlement, he ruled that the financial advisor had engaged in multiple acts of
       “bad faith” and ordered him to be removed from handling the Geisler Trust and to
       pay part of the charities’ legal fees.

(Pl. PFOF 47; Dkt. 20-1; see also Dkts. 40-1)5 Gannett repeatedly asserted the Disclaimer in its

Motion to Dismiss. (E.g. Dkt. 5 at 2-3, 18, 22) The Court repeatedly relied on the Disclaimer in

ruling on the motion. (E.g. Dkt. 32 at 27 (“[T]his statement expressly negates any implication that

Batterman had embezzled or stolen trust funds[.]”))

       On September 9, 2020, this Court denied Plaintiffs’ Motion for Leave to Amend Their

Complaint, finding that plaintiffs had failed to show the requisite diligence. (Dkt. 49) The Court

ordered:

       This case will proceed on the original complaint as framed by both parties and as
       narrowed by the court’s June 1 order, namely, whether an ordinary reader would
       understand the on line version of the Article, as updated on September 19, 2018, to


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  Even the Disclaimer is not entirely accurate. Judge Moran removed Vigil Trust and appointed a
successor trustee because all the beneficiaries so requested. The order appointing the successor
trustee stated: “Nothing in this Order shall be deemed to be a finding by the Court, factually or at
law, that Vigil Trust… and/or Thomas Batterman, has engaged in any wrongful or otherwise
dishonest conduct, or breached any fiduciary duty.” (Pl. PFOF ¶ 48; Dkt. 20-2 at 9)


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       imply that plaintiffs committed elder abuse, whether that implication is false, and
       whether plaintiffs sustained damages as a result.

(Dkt. 49 at 11-12)

       Respectfully, that ruling was in error for the reasons set forth in Dockets 43 and 46, and

Plaintiffs should be permitted to proceed based on the Original Publication. Even though the Court

denied Plaintiffs’ motion for leave to amend, the Original Publication is the defamatory statement

of which Plaintiff complain. (Dkt. 1 at ¶¶ 1, 46) Plaintiffs did not attach any version of the

publication to the complaint, as they were not required to do so. “Under Wisconsin law, defamation

claims require that ‘the particular words complained of shall be set forth in the

complaint.’” Rabideaux v. Clean Power, No. 09-C-680, 2009 WL 2432367, at *3 (E.D. Wis. Aug.

6, 2009) (quoting Wis. Stat. § 802.03); accord Schindler v. Seiler, 474 F.3d 1008, 1010 (7th Cir.

2007). As long as the complaint is specific and identifies the “particular words” complained of,

the “plaintiff need not plead verbatim the defamatory remarks made about him[.]” Schindler v.

Marshfield Clinic, No. 05-C-705 C, 2007 WL 60924, at *11 (W.D. Wis. Jan. 4, 2007) (emphasis

in the original). Where a plaintiff “describe[es] in his complaint the content of the statements

allegedly made by defendants, [he] has met the requirements of both § 802.03(6) and Rule 8.” Id.

(citing Wis. Stat. § 802.03(6) and Fed.R.Civ.P. 8).

       As was the case in Schindler, Plaintiffs may rely on the Original Publication for purposes

of summary judgment, even though it was not attached to the Complaint. Schindler, 2007 WL

60924. In Schindler, a neurosurgeon brought claims against the Marshfield Clinic, alleging that

various clinic employees had made defamatory statements about his performance while an

employee of the clinic. Id. at *11. One of the many allegedly defamatory statements was a written

report that the clinic submitted to the National Practitioner Data Bank (a database that tracks

physicians who have underperformed or engaged in misconduct). Id. at *7. While Judge Crabb



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ultimately found that the clinic was entitled to immunity under the statute that created the database,

she considered the written report on summary judgment over the clinic’s objection that the report

was not adequately set forth the complaint:

        In their reply brief, defendants contend vigorously that plaintiff did not plead this
        claim in his complaint. Although it is true that plaintiff did not summarize this claim
        in the portion of his complaint entitled “Claim IX-Defamation,” in paragraph 96 of
        the complaint plaintiff identifies the report and alleges that, by filing it, defendants
        “were passing on information which was directly harmful to Dr. Schindler's good
        name, reputation, livelihood and opportunities to continue his career.” Defendants
        complain that plaintiff did not parse out the specific words in the report of which
        he was complaining, and that he therefore failed to plead his libel claim with the
        requisite particularity. However, it is clear from plaintiff's complaint that he
        believes the entire report conveys the false implication that he is a dangerous
        surgeon whose patients' best interests were best served by his permanent
        termination. Although plaintiff could have drafted his complaint more carefully, his
        failure to do so is not fatal. Plaintiff's allegations regarding the June 2004 report
        were adequate to put defendants on notice that he was pursuing this claim against
        them; that defendants ignored his claim is no reason for this court to do the same.

Schindler, 2007 WL 60924, at *14 (emphasis by the Court).

        Here too, Plaintiffs’ original complaint—even with the Court having denied the

amendment—adequately alleges that Gannett defamed Plaintiffs by publishing the Original

Publication. Indeed, the very first paragraph of the Complaint provides: “This is a defamation case

concerning an article initially published on August 21, 2018 in the Wausau Daily Herald

concerning a petition filed in Marathon County Probate Court on September 9, 2015, almost three

years earlier.” (Dkt. 1, ¶ 1)

        The Original Publication was undisputedly published. Indeed, it was the version of the

Article that the overwhelming majority of readers (i.e. over 90%) viewed. (Dkt. 43, ¶ 27; Dkt. 43-

1, ¶¶ 90-92) The Court should not ignore that reality. This is particularly true, given that Gannett

now attempts to use the revision as both a sword and a shield, arguing that it establishes Gannett’s

good faith: “After receiving that demand, Treinen worked with Gannett’s editing and legal staff to




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thoroughly consider the concerns raised by Plaintiffs.” (Dkt. 58 (Def. PFOF) ¶ 72; see also id., ¶

73)

       Thus, while Plaintiffs understand that the Court has denied their Motion for Leave,

Plaintiffs contend that the Original Publication is the operative defamatory statement in this case.

The Original Publication does not contain the Disclaimer and it is false, defamatory, and

unprivileged for the reasons set forth in Plaintiffs’ Combined Response to Defendant’s Motion to

Dismiss and Memorandum of Law In Support of Their Motion for Summary Judgment As To

Liability. (Dkt. 18) Plaintiffs therefore respectfully request that the Court deny Gannett’s motion

for summary judgment, and allow the case to proceed to trial based on the Original Publication.

                                         CONCLUSION

       For the reasons set forth above, plaintiffs Financial Fiduciaries, LLC and Thomas

Batterman respectfully request that the Court: (1) deny Gannett’s Motion for Summary Judgment;

(2) permit Plaintiffs to proceed to trial based on the Original Publication; and (3) award such

further relief as this Court deems just and proper.


Dated: November 23, 2020                      Respectfully submitted:

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                                   CERTIFICATE OF SERVICE

       I, Charles L. Philbrick, certify that I caused to be served on all parties on November 23,
2020, Plaintiffs’ Response To Defendant’s Motion For Summary Judgment, via the Court’s ECF
system.


                                                    /s/ Charles L. Philbrick
                                                    Charles L. Philbrick




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